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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                             CASE NO. 1:04-cr-00006-MP-AK

DAVID LARRY JONES,

      Defendant.
_____________________________/
                                           ORDER

       This matter is before the Court on Doc. 797, Motion for Sentence Reduction Pursuant to

18 U.S.C. § 3582(c)(2) and the amendments to the sentencing guidelines for crack cocaine

offenses. Defendant was sentenced on October 24, 2006, to 180 months, which represented a

downward departure from his mandatory life and high guidelines range (262-327). Doc. 697.

The Court did so based on a motion under U.S.S.G. § 5K1.1, Doc. 694. Additionally, Mr. Jones

was classified as a Career Offender, so regardless of the crack cocaine amendments, his base

offense level stays at 37, making his total offense level remain at 34. Because the defendant was

found to be an Career Offender, the Amendment to the Guidelines did not lower the Guidelines

range applicable to him. Because the amendment does not lower the guideline range applicable

to this defendant, § 1B1.10(a)(1) does not permit the Court to reduce the original sentence.

Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion for sentence reduction, Doc. 797, is denied.

       DONE AND ORDERED this 17th day of July, 2009

                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
